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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            WEST PALM BEACH DIVISION
                               www.flsb.uscourts.gov

IN RE:                                                    CASE NO.: 19-18585-MAM
                                                          Chapter 11
MERIDIAN MARINA & YACHT CLUB
OF PALM CITY, LLC

Debtor.
______________________________/


            MERIDIAN MARINA & YACHT CLUB OF PALM CITY, LLC’S
           OBJECTION TO CLAIM OF BARTLETT BROTHERS SECURITY
               (SCHEDULED CLAIM; NO PROOF OF CLAIM FILED)

                         IMPORTANT NOTICE TO CREDITOR:
                       THIS IS AN OBJECTION TO YOUR CLAIM

       This objection seeks either to disallow or reduce the amount or change the
priority status of the claim filed by you or on your behalf. Please read this objection
carefully to identify which claim is objected to and what disposition of your claim
is recommended.

        If you disagree with the objection or the recommended treatment, you must
file a written response WITHIN 30 DAYS from the date of service of this objection,
explaining why your claim should be allowed as presently filed, and you must serve
a copy to the undersigned attorney OR YOUR CLAIM MAY BE DISPOSED OF IN
ACCORDANCE WITH THE RECOMMENDATION IN THIS OBJECTION.

      If your entire claim is objected to and this is a chapter 11 case, you will not
have the right to vote to accept or reject any proposed plan of reorganization until
the objection is resolved, unless you request an order pursuant to Bankruptcy Rule
3018(a) temporarily allowing your claim for voting purposes.

       The written response must contain the case name, case number, and must
be filed with the Clerk of the United States Bankruptcy Court.

     Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1, the debtor(s) object(s)

to the following claim(s) filed in this case and on the grounds set forth therein. Accordingly,

the claim(s) should be stricken and disallowed.
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                          Claim        Claim           Basis for Objection and
 Name of Claimant         Amount       Number          Recommended Disposition
                                       Scheduled
 BARTLETT
                                       Claim; No       Objection – Claim has been paid
 BROTHERS                 $190.80
                                       Proof of        pre-petition. Claim shall be stricken
 SECURITY
                                       Claim filed


       WHEREFORE, the Debtor respectfully request this Court enter an order sustaining

this Objection, disallowing the Claims listed above, and granting such other and further

relief as may be just.

       I HEREBY CERTIFY that I am admitted to the Bar of the United States District

Court for the Southern District of Florida and I am in compliance with the additional

qualifications to practice in this court set forth in Local Rule 2090-1(A) and that a true and

correct copy of the foregoing was furnished via U.S. Mail to the parties listed on the

attached mail list this 30th day of October, 2020.

                                                  KELLEY, FULTON & KAPLAN, P.L.
                                                  Attorneys for the Debtors in Possession
                                                  1665 Palm Beach Lakes Blvd., Ste 1000
                                                  West Palm Beach, FL 33401
                                                  Phone (561) 491-1200
                                                  Facsimile (561) 684-3773

                                                  By: /s/ Dana Kaplan, Esq.
                                                      DANA KAPLAN, ESQUIRE
                                                      Florida Bar 44315
Mailing Information for Case 19-18585-MAM


Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email
notice/service for this case.
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   •   John P Carrigan jpc@reblawpa.com, mmj@reblawpa.com
   •   Amber E Donner Amber.Donner@SpectorRubin.com,
       heidiparalegal@gmail.com
   •   Heidi A Feinman Heidi.A.Feinman@usdoj.gov
   •   Linda W Jackson LJackson@PardoJackson.com,
       catheryne@pardojackson.com;mfuentes@pardojackson.com
   •   Dana L Kaplan dana@kelleylawoffice.com,
       tina@kelleylawoffice.com;cassandra@kelleylawoffice.com;kristina@kelleylawoffi
       ce.com;debbie@kelleylawoffice.com;craig@kelleylawoffice.com
   •   Craig I Kelley craig@kelleylawoffice.com,
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       ce.com;debbie@kelleylawoffice.com;dana@kelleylawoffice.com
   •   Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov
   •   Alan B Rose arose@mrachek-law.com, manderson@mrachek-law.com

Manual Notice List

The following is the list of parties who are not on the list to receive email notice/service
for this case (who therefore require manual noticing/service).

       Aspen Environmental Consulting, LLC
       2014 SW Oxbow Way
       Palm City, FL 34990

       Charles Goodman
       3022 SW Lake Terrace
       Palm City, FL 34990

       Stetson Insurance Funding
       6450 Transit Road
       Depew, 14043

       BARTLETT BROTHERS SECURITY
       2694 SE Willoughby Blvd.
       Stuart, FL 34994
